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                             IN THE UNITED STATES DISTRICT COURT

                                 WESTERN DISTRICT OF TEXAS

                                      EL PASO DIVISION

LYNDSI DIAZ DE LEON, and                        §
CARLA MARTINEZ,                                 §
                                                §
        Plaintiffs,                             §
                                                §
v.                                              §
                                                §
MANUEL JIMENEZ MARTINEZ; and                    §    Cause No. 3:20-cv-00311
CNC LOGISTICS SA DE RL DE CV,                   §
                                                §
                                                §
        Defendants.                             §

                             DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW MANUEL JIMENEZ MARTINEZ, a Defendant in the above-entitled and

captioned cause, and submits his Notice of Removal, and for jurisdiction respectfully shows the

following:

1.      This party was named as a Defendant in the case styled Lyndsi Diaz de Leon; and Carla

Martinez v. Manuel Jimenez Martinez; and CNC Logistics SA de RL de CV; Cause No. 2020-

DCV3563, pending in the 243rd District Court of El Paso County, Texas (hereinafter “The State

Court Action”). A true and correct copy of the docket sheet from the State Court action is attached

as Exhibit A. Pursuant to 28 U.S.C § 1446(a) a true and correct copy of all process, pleadings and

orders in The State Court Action are being filed with this Notice, and are attached as Exhibit B.

2.      The State Court Action arises out of truck/auto accident that occurred in El Paso County,

Texas on or about August 27, 2020. Plaintiffs allege that Defendant Manuel Jimenez Martinez

(“Defendant Martinez”) is an individual residing at 15303 Huebner Road, San Antonio, Texas

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78248. This is actually the address for Defendants’ insurer, National Unity. Defendant Manuel

Jimenez Martinez is, and always has been, a citizen of The Republic of Mexico. He has never

resided in the State of Texas or Bexar County. Please refer to the attached affidavit of Defendant

Manuel Jimenez Martinez, attached as Exhibit C. He has not actually been served as of the time

the State Court action is removed. Defendant CNC consents to the removal of this case.

3.      Plaintiffs allege to be residents of El Paso, Texas, and upon information and belief, are

citizens of the State of Texas.

4.      The State Court Action commenced on November 4, 2020 with the filing of Plaintiffs’

Original Petition. Service of Plaintiffs’ Original Petition on Defendant CNC Logistics SA de RL

de CV was effected by serving Defendant’s registered agent for service, International Border

Trucking Compliance Service, Inc., by hand delivery on November 6, 2020, which is the operative

date for removal purposes for this Defendant.

4.      Plaintiffs’ Original Petition seeks monetary relief “over two hundred thousand and 00/100

dollars ($200,000.00) but not more than one million and 00/100 dollars ($1,000,000.00).” In

addition, the petition asserts that the Plaintiffs suffered injuries, including physical pain, mental

anguish, and medical expenses, in the past, and possibly continuing into the future.

5.      The sum demanded in good faith in the initial pleading shall be deemed to be the amount

in controversy. 28 U.S.C. §1446(c)(2). However, if the state’s practice does not permit demand

for a specific sum, or permits the recovery of damages in excess of the amount demanded, then a

Notice of Removal may assert the amount in controversy. Id. §1446(c)(2)(A)(ii). In addition,

Texas District Courts have adopted a “facially apparent” standard to determine whether a case is

removable when the initial pleading does not specify the amount in controversy, or in some cases

even when it affirmatively specifies an amount below the federal jurisdictional limit. See Salomon


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v. Wells Fargo Bank, N.A., 2010 WL 2545593 at *3-7 (W.D. Tex., June 21, 2010); Gutierrez v.

Swift Transportation Co., Inc., 2011 WL 318294 at *2-4 (W.D. Tex. January 8, 2011). A

defendant may show that the amount in controversy exceeds the federal limit by either (1)

demonstrating that it is “facially apparent” from a petition that the claim likely exceeds $75,000.00,

or (2) by setting forth the facts, preferably in the removal petition, that support a finding of the

requisite amount. Gutierrez 2011 WL 318924 at *2; see also Grant v. Chevron Philips Chem. Co.,

309 F.3d 864, 868 (5th Cir. 2002). When a complaint fails to specify the numerical value of

damages, the court examines the nature of the injuries and damages alleged. See Carmardelli v.

Wal-Mart Stores, Inc., 545 F. Supp. 2d, 595 (W.D. Tex. 2008). Although decided in the context

of an employment discrimination claim, the Fifth Circuit has held that an extensive list of damages,

even without numerical specification, can meet the threshold for “facially apparent,” which

appears to be the rule followed by the Western District. White v. FCI USA, Inc., 319 F.3d, 672,

674-76 (5th Cir. 2003); Salomon, 2010 WL 2545593 at *5; Gutierrez, 2011 WL 318294 at *4-5.

That being said, a Plaintiff must make all information known at the time he files his complaint,

and if it is facially apparent from the pleading that the requisite amount in controversy exists, then

no post-removal affidavits, stipulations or amendments will deprive the District Court of

jurisdiction. Gutierrez, 2011 WL 318294 at *5. In this case, Plaintiffs have asserted an extensive

list of damages, both in the past and continuing in the future. Plaintiffs have pleaded the case as

being worth more than $200,000.00. As such, based on the amount of damages and injuries

alleged, and the extensive complaints set forth in Plaintiffs’ Original Petition, it appears to be

facially apparent that the amount in controversy is in excess of $75,000.00.

6.      This Honorable Court has original jurisdiction over this case pursuant to 28 U.S.C.

§1332(a)(1), since there is complete diversity of citizenship between the parties, and assuming that


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Plaintiffs demanded the sum in their Original Petition in good faith, then at least $200,000.00

should be deemed to be the amount in controversy pursuant to 28 U.S.C. § 1446(c)(2).

7.      This Notice is timely filed pursuant to 28 U.S.C. §1446 (b), since it was filed within thirty

(30) days of the receipt by Defendant CNC of Plaintiffs’ Original Petition from which it could first

be ascertained that the case was removable, and less than one (1) year after commencement of The

State Court Action.

8.      Venue of this removed action is proper in this Honorable Court pursuant to 28 U.S.C.

§1441(a) as the District and Division where The State Court Action is pending.

9.      Pursuant to 28 U.S.C. §1446(d), Defendant will promptly give all parties written

notification of the filing of this Notice, and will also promptly file a copy with the District Clerk

of El Paso County, Texas where The State Court Action is currently pending.

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that
pursuant to the above-referenced authorities that The State Court Action be removed, that this
Honorable Court exercise its original jurisdiction over The State Court Action, and that Defendant
be granted such other and further relief, general or special, legal or equitable, to which Defendant
may be justly entitled.
                                                      Respectfully submitted,
                                                      MOUNCE, GREEN, MYERS
                                                      SAFI, PAXSON & GALATZAN, P.C.
                                                      P.O. Drawer 1977
                                                      El Paso, Texas 79999-1977
                                                      Phone: (915) 532-2000
                                                      Fax: (915) 541-1597
                                                      E-Mail: vereen@mgmsg.com
                                                      E-Mail: hutterer@mgmsg.com

                                                      By: ____________________________
                                                          Darryl S. Vereen
                                                          State Bar No. 00785148
                                                          Frederick C. Hutterer III
                                                          State Bar No. 24100492
                                                      Attorneys for Defendant

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                               CERTIFICATE OF SERVICE
       I, Frederick C. Hutterer III, hereby certify that on this 15th day of December, 2020, I
served a copy of the foregoing with the Clerk of the Court using the CM/ECF system which will
automatically send e-mail notice of such filing to the following attorneys of record: Steven T.
Nguyen, Esq., snguyen-svc@thomasjhenrylaw.com, Thomas J. Henry, P.O. Box 696025, San
Antonio, Texas 78269.


                                          __________________________________________
                                           Frederick C. Hutterer, III




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